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10
                                       UNITED STATES DISTRICT COURT
11
                                               DISTRICT OF NEVADA
12
     KELLY JEAN O’LEARY,                              ) Case No.: 2:21-CV-00889-WGC
13                                                    )
14                  Plaintiff,                        )
                                                      )
15          vs.                                       ) UNOPPOSED MOTION FOR EXTENSION OF
                                                      ) TIME (FIRST REQUEST)
16   KILOLO KIJAKAZI, 1                               )
     Acting Commissioner of Social Security,          )
17                                                    )
18                  Defendant.                        )
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       Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule
26   25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore, for Andrew
     Saul as the defendant in this suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1          Defendant, the Commissioner of Social Security (the “Commissioner”), through the undersigned

 2 counsel, hereby requests an extension of time to file his Cross-Motion to Affirm and Response to

 3 Plaintiff’s Motion for Reversal and/or Remand in this case. In support of this request, the Commissioner

 4 respectfully states as follows:

 5          1.      Primary responsibility for handling this case has been delegated to the Office of the

 6 Regional Chief Counsel, Region IX, in San Francisco, California (the “Region IX Office”).

 7          2.      Defendant’s response to Plaintiff’s opening brief is currently due December 1, 2021.

 8 Defendant has not previously requested an extension of time for this deadline.

 9          3.      The Region IX Office currently handles all district and circuit court litigation involving

10 the Social Security program arising in Arizona, California, Hawai‘i, Nevada, and Guam.

11          4.      The Region IX Office employs 44 staff attorneys, of whom 30 are actively handling civil

12 litigation involving the Social Security program in the eight assigned jurisdictions. Most of the attorneys

13 who handle program litigation cases have additional responsibilities, such as litigating in other practice

14 areas described below, acting as Jurisdictional leads, reviewing the work product of junior attorneys,

15 conducting trainings, and participating in national workgroups. In addition, because of attorneys taking

16 unexpected leave or resigning, the Region IX Office has had to re-assign dozens of cases and substitute

17 in new counsel who have had to absorb these re-assigned cases into their existing caseloads.

18          5.      In addition to “program” litigation, the Region IX Office provides a full range of legal

19 services as counsel for the Social Security Administration, in a region that covers four states (including

20 the most populous state in the nation) and three territories. These other workloads include employment

21 litigation; civil rights investigations; bankruptcy matters; and requests for legal advice on wide-ranging

22 topics, including Regional office client requests for advice on program issues, employee conduct and

23 performance, reasonable accommodation, hostile work environment, ethics, Privacy Act and disclosure,

24 and torts. Because of the high volume of program litigation cases, the Region IX Office has had to focus

25 its efforts on processing only other workloads that are subject to statutory, regulatory, and court

26 deadlines.
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 1           6.    The undersigned of counsel attorney has 14 briefs due in district court cases over the next

 2 month which must be reviewed by the undersigned Special Assistant United States Attorney prior to

 3 filing with the Court.

 4           7.    Due to the volume of the overall workload within the Region IX Office, neither the

 5 undersigned attorney nor another attorney in the Region IX Office anticipate being able to complete

 6 briefing by the current due date of December 1, 2021. Therefore, Defendant seeks an extension of 30

 7 days, until December 31, to respond to Plaintiff’s motion.
 8           8.    This request is made in good faith and is not intended to delay the proceedings in this

 9 matter.

10           9.    On December 1, 2021, counsel for Defendant conferred with Plaintiff’s counsel, who has

11 no opposition to this motion.

12           WHEREFORE, Defendant requests until December 31, 2021, to respond to Plaintiff’s Motion for

13 Reversal and/or Remand.

14           Dated: December 1, 2021                       Respectfully submitted,

15                                                         CHRISTOPHER CHIOU
                                                           Acting United States Attorney
16

17                                                         /s/ Chantal R. Jenkins
                                                           Chantal R. Jenkins
18                                                         Special Assistant United States Attorney

19                                                         Attorneys for Defendant
20
   Of Counsel to Defendant
21 Bacilio Mendez II, CSBN 332719
   Assistant Regional Counsel
22 Social Security Administration
                                                           IT IS SO ORDERED:
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24                                                         UNITED STATES MAGISTRATE JUDGE
25
                                                                    December 2, 2021
                                                           DATED: ___________________________
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 1                                       CERTIFICATE OF SERVICE

 2          I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My

 3 business address is 160 Spear Street, Suite 800, San Francisco, California 94105. I am not a party to the

 4 above-entitled action. On the date set forth below, I caused service of UNOPPOSED MOTION FOR

 5 EXTENSION OF TIME (FIRST REQUEST) on the following parties by electronically filing the

 6 foregoing with the Clerk of the District Court using its ECF System, which provides electronic notice of

 7 the filing:
 8          HAL TAYLOR, ESQUIRE
            NV Bar ID: 4399
 9          2551 W. Lakeridge Shores
10          Reno, NV 89519
            P: (775) 825-2223
11          F: (775) 329-1113
            Email: haltaylorlawyer@gbis.com
12
            Attorney for Plaintiff
13

14
            Dated: December 1, 2021
15
                                                           /s/ Chantal R. Jenkins
16                                                         Chantal R. Jenkins
                                                           Special Assistant United States Attorney
17
                                                           Attorneys for Defendant
18

19 Of Counsel to Defendant
   Bacilio Mendez II, CSBN 332719
20 Assistant Regional Counsel
   Social Security Administration
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